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                               Electronically FILED by Superior Court of California, County of Riverside on 03/22/2024 12:55 PM
                  Case Number CVRI2401530 0000087761153 - Jason B. Galkin, Executive Officer/Clerk of the Court By Joseline DeRosier, Clerk


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                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                 FOR THE COUNTY OF RIVERSIDE

                                                       UNLIMITED JURISDICTION



     RANSOME NDI NFOR,                                                               CaseNo..          (2           FRI     SVAots            si ol

             Plaintiff,                                                              PLAINTIFF’S COMPLAINT FOR
                                                                                     DAMAGES
     Vs.                                                                                   1.   NEGLIGENCE

                                                                                          2.    VIOLATION OF TITLE 42 § 1983
     CITY OF PERRIS; COUNTY OF RIVERSIDE;
     STATE OF CALIFORNIA; MICHAEL
     ANTHONY ARREOLA; and DOES 1-100,                                                DEMAND            FOR JURY TRIAL
     inclusive,

             Defendants.




                                                 PLAINTIFF’S COMPLAINT FOR DAMAGES
                                                                   1
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                COMES NOW          Plaintiff RANSOME NDI NFOR (hereinafter “PLAINTIFF”), for Causes of

       Action against Defendants CITY OF PERRIS (hereinafter “DEFENDANT                      CITY”); COUNTY       OF
Ne




       RIVERSIDE       (hereinafter “DEFENDANT            COUNTY”);      STATE    OF    CALIFORNIA       (hereinafter
LoS)




       “DEFENDANT             STATE”);     MICHAEL       ANTHONY        ARREOLA        (hereinafter   “DEFENDANT

       ARREOLA”);       and DOES        1-100, inclusive (collectively hereinafter “~DEFENDANTS”); and each of

       them, complains and alleges as follows:

                                                GENERAL ALLEGATIONS


                1.      The    claims    set forth herein arise from   a motor vehicle collision that occurred     on

       December 8, 2023, in or around the City of Perris, County of Riverside, California (hereinaf ter

       “SUBJECT INCIDENT”), which caused severe personal injuries to PLAINTIFF.

               2.       PLAINTIFF        is informed, believes, and thereon alleges, DEFENDANT          ARREOL

       was, and is, a resident of the County of Riverside, California.

               3.       DEFENDANTS           PERRIS, COUNTY,       STATE, and each of them, at all times her >in

       relevant, are a public entity duly organized and existing under and by virtue of laws of the State of

       California and authorized to do and are doing business in the State of California.

               4,       PLAINTIFP’S injuries occurred on Redlands Avenue, south of San Jacinto Avenue,

       in or around the City of Perris (“SUBJECT LOCATION”), which falls within the Riverside Cou aty

       Judicial District, and this Court is therefore the proper Court in which to bring this action, pursuant

       to Code of Civil Procedure sections 395 and 396.

               5:       DEFENDANTS           PERRIS,   COUNTY,     STATE,    and each of them, at all times herein

       relevant, are a public entity duly organized and existing under and by virtue of laws of the State of

       California and authorized to do and are doing business in the State of California.

               6.      On or about January 12, 2024, prior to the filing of this Complaint, and pursuant to the

       provisions    of Government       Code   section 910, et seq., PLAINTIFF        timely, properly, and duly
       submitted to DEFENDANT             CITY, a claim form for the injuries and damages set forth herein        on

       account of the events described herein. Attached hereto as “Exhibit 1” is a true and correct copy of

       PLAINTIFF’S claim form. On or about January 29, 2024, PLAINTIFF received correspondence from


                                          PLAINTIFF’S COMPLAINT FOR DAMAGES
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      DEFENDANT           CITY,     by and through         PERMA.    PERMA    stated that PLAINTIFF’s         claim was

      rejected. Attached hereto as “Exhibit 2” is a true and correct copy of DEFENDANT CITY’S rejecti on
Ne




      letter.
oS)




                7.       On or about January 12, 2024, prior to the filing of this Complaint, and pursuant to t ne

      provisions      of Government     Code     section    910, et seq., PLAINTIFF     timely,   properly,    and du
      submitted to DEFENDANT COUNTY, a claim form for the injuries and damages set forth herein

      account of the events described herein. Attached hereto as “Exhibit 3” is a true and correct copy

      PLAINTIFF’S claim form. On or about January 30, 2024, PLAINTIFF received correspondence fre

      DEFENDANT          COUNTY       rejecting PLAINTIFF’S claim. Attached hereto as “Exhibit 4” is a tr

      and correct copy of DEFENDANT COUNTY’S rejection letter.

                8.      On or about January 12, 2024, prior to the filing of this Complaint, and pursuant to he

      provisions      of Government     Code     section    910, et seq., PLAINTIFF    timely,    properly,    and duly
      submitted to DEFENDANT            STATE, a claim form for the injuries and damages set forth herein jon
      account of the events described herein. Attached hereto as “Exhibit 5” is a true and correct copy

      PLAINTIFF’S        claim form. To date, PLAINTIFF             has not received a response from DEFENDANT

      STATE in regard to PLAINTIFF’S claim form.

                9.      PLAINTIFF       is informed, believe, and thereon allege, that DEFENDANTS                CIT
      COUNTY, STATE and DOES 1-100 have a statutory duty and are statutorily liable for injury caus ed

      by their act or omission to the same extent as a private person would be, as provided by Government

      Code Section 820(a).

                10.     The true names and capacities, whether individual, plural, corporate, partnership.

      associate, or otherwise, of DOES          1-100, inclusive, are unknown    to PLAINTIFF,     who therefore gue

      said DEFENDANTS          by such fictitious names. The full extent of the facts linking such fictitiously

      sued DEFENDANTS             are unknown    to PLAINTIFF.       PLAINTIFF   is informed, believes, and thereon

      alleges that each of the DEFENDANTS designated herein as a DOE was, and is, negligent, or in some

      other actionable manner, responsible for the events and happenings hereinafter referred to, and

      thereby negligently, or in some other actionable manner, legally and proximately caused the described

      injuries and damages to PLAINTIFF.              PLAINTIFF       will seek leave of the Court to amend        this

                                         PLAINTIFF’S COMPLAINT FOR DAMAGES
                                                                J
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     Complaint          to show the DEFENDANTS’           true names      and capacities after the same           have    been

     ascertained.
to




                 Td.      PLAINTIFF is informed, believes, and thereon alleges that at all times relevant and
bo




     mentioned herein, DEFENDANTS, and each of them, were the agents, servants, employees, and/or

     successors in interest, and/or joint venturers of their co-defendants, and each of them was acting

     within the course, scope, and authority of said agency, employment, and/or venture, and that each

     and every defendant, as aforesaid, when acting as a principal, was negligent in the selection and

     hiring, retention, training and supervision of each and every other defendant as an agent, employee

     and/or joint venturer. Further, that each said defendant, while acting as a principal, expressly directed,

     consented to, approved, affirmed, and ratified each and every action taken by their co-defendants, las

     alleged.         PLAINTIFF     is informed,   believes,   and   thereon   alleges   that   said    fictitiously     named
     DEFENDANTS,                and each of them, engaged in the same or similar conduct as DEFENDANTS.

     thereby proximately causing PLAINTIFF'S injuries and damages as set forth herein, either throu h

     the said fictitious DEFENDANTS’ own negligent conduct or through the conduct of agents, serva                               S,

     or employees, or due to their pursuit of the vehicle operated by DEFENDANT ARREOLA.

                12.       PLAINTIFF is informed and believes, and thereon alleges, that pursuant to Califor                      a

     Government          Code    §§ 815.2, 815.4, and 820(a), DEFENDANTS             and DOES          1-100, inclusive are
     vicariously liable for the action and omissions of their employees, agents, or independent contractors.

                13.       On December 8, 2023, the date of the SUBJECT            INCIDENT.        police officer(s) were

     operating police cruisers in pursuit of DEFENDANT ARREOLA,                      who was the operator of a 2007
     Acura      TL     (“SUBJECT     VEHICLE”),     traveling northbound       on Redlands      Avenue.     PLAINTIFF!       i
     informed, believes, and thereon alleges, at all times relevant and mentioned herein, that the police

     cruisers and SUBJECT VEHICLE were owned, operated, managed, maintained, inspected, and/or

     otherwise controlled by DEFENDANTS and DOES                     1-100.
                14.       On December 8, 2023, PLAINTIFF was operating a 2012 Hyundai Elantra (hereinafter

     “PLAINTIFF’S           VEHICLE”),     traveling southbound on Redlands Avenue. At the same time and
     location, the police officers and DEFENDANT ARREOLA were operating their vehicles without due

     care, causing DEFENDANT ARREOLA to collide with PLAINTIFF’S VEHICLE.

                                          PLAINTIFF’S COMPLAINT        FOR DAMAGES
                                                                4
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              15.      At said time and place, DEFENDANTS,               and each of them, had a duty to exercise

      reasonable care in the ownership, supervision, operation, and maintenance of the police cruisers a
 NO




      SUBJECT VEHICLE, so as not to create an unreasonable risk of harm to others using the publi

      roadway.      Despite these duties, DEFENDANTS,          and each of them, negligently, recklessly, a

      carelessly managed, maintained, drove, operated, controlled, entrusted, and supervised the operati

      of the police cruisers and SUBJECT VEHICLE, so as to directly and proximately cause the SUBJEG

      VEHICLE       to collide with PLAINTIFF’S        VEHICLE        while traveling as previously stated, there

      causing PLAINTIFF’S injuries and damages alleged herein.

              16.      PLAINTIFF      is informed, believe, and thereon allege, that at all times herein releva nt,

      the police officer(s) were employed by DEFENDANTS, and was, at all times herein relevant, acting

      within the scope of his duties for DEFENDANTS.              PLAINTIFF        is further informed, believe, i?

      thereupon allege that at all times herein relevant, the police officer(s) were driving police cruise rs,

      which was owned, controlled, maintained, managed, operated, and used by DEFENDANTS,                                and

      which was entrusted to the police officer(s) so that he could perform the duties of his employme nt.

      PLAINTIFF       is further informed, believes, and thereon alleges, that at all times herein ls

      DEFENDANTS, authorized the police officer(s) to use the police cruiser for the purposes the pol ce

      officer(s) saw fit during the course and scope of his duties.

              17.      As   a result of the   SUBJECT     INCIDENT,       PLAINTIFF          suffered   severe,   traumati

      debilitating, and permanent injuries that necessitated significant medical care.

                                              FIRST CAUSE OF ACTION

                                                     NEGLIGENCE

                       (By PLAINTIFF against DEFENDANT ARREOLA and DOES 1-100)

              18.      PLAINTIFF re-alleges and incorporates herein by reference each and every allegat on

      and statement contained in the prior paragraphs.

              19.      PLAINTIFF      is informed,    believes, and     thereon   alleges,    at all times    relevant 4 nd

      mentioned     herein, DEFENDANTS,         and each of them, owed            a duty of care to all reasonably
27    foreseeable people, including PLAINTIFF, to own, lease, manage, maintain, entrust, operate, drive,
28    and/or control the SUBJECT       VEHICLE       in a reasonable manner.

                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
                                                         5
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                20.   | PLAINTIFF          is informed, believes, and thereon alleges, at all times relevant a

        mentioned herein, DEFENDANTS,                  and each of them, carelessly and negligently owned, leas¢
 N




        managed, maintained, and/or entrusted the SUBJECT VEHICLE to DEFENDANT ARREOLA, w
 LoS)




        carelessly and negligently operated, drove, and/or controlled the SUBJECT                      VEHICLE,       so as

        legally, directly, and proximately cause the SUBJECT INCIDENT.

                21.     PLAINTIFF         is informed, believes, and thereon alleges, DEFENDANTS,                 and each of

        them, breached their duty to own,             lease, manage,    maintain, entrust, control, and/or operate the

        SUBJECT VEHICLE in a reasonable manner, thereby causing bodily injuries to PLAINTIFF.

                Dds     PLAINTIFF is informed, believes, and thereon alleges, DEFENDANTS were agen ts,

        servants, employees, successors in interest, and/or joint venturers of their co-defendants, and we re,

        as such, acting within the course, scope, and authority of said agency, employment and/or Ventre,

        and that each and every defendant, as aforesaid, when acting as a principal, was negligent in { he

        selection of each and every other defendant as an agent, servant, employee, successor in interé st,

        and/or joint venturer.

                23.   | PLAINTIFF is informed, believes, and thereon alleges, at all times mentioned herei

        DEFENDANTS,          carelessly     and     negligently,   owned,   leased,      managed,   maintained,   controlled,
        entrusted and/or operated the SUBJECT VEHICLE so as to legally and proximately cause the same

        to collide with PLAINTIFF’S VEHICLE.

                24.     More specifically, PLAINTIFF is informed, believes, and thereon alleges, at all _

        relevant and mentioned       herein, DEFENDANT              ARREOLA           carelessly and negligently operated,
        drove, and/or controlled the SUBJECT VEHICLE, owned and operated by DEFENDANTS, there by

        colliding with PLAINTIFF’S VEHICLE.

               25.    | PLAINTIFF         is informed, believes, and thereon alleges, at all times relevant < nd

        mentioned herein, said careless and negligent conduct of DEFENDANTS, and each of them, in regard

        to the ownership, leasing, management, maintenance, entrustment, operation, driving, and/or control

        of the SUBJECT VEHICLE was the direct, legal and proximate cause of the injuries and damages to

        PLAINTIFF as herein alleged.

               26.      As   a legal,     direct,    and   proximate   result   of the    aforementioned    conduct    of the

                                            PLAINTIFF’S COMPLAINT FOR DAMAGES
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        DEFENDANTS, and each of them, PLAINTIFF was injured and hurt in his health, strength and

        activity, sustaining serious injuries to his body, and/or shock and injury to his nervous system a
 nN




        person, all of which said injuries have caused and continue to cause PLAINTIFF great physical and
 1os)




        mental pain and suffering. PLAINTIFF is further informed, believes, and thereon alleges that sai

        injuries will result in some permanent disability to him, all to his general damage in an amount whi

        will be stated according to proof, pursuant to California Code of Civil Procedure Section 425.10.

                27.       As   a   legal,   direct,   and     proximate   result   of the   aforementioned    conduct

        DEFENDANTS, and each of them, PLAINTIFF sustained damage to his property in an amount whi

        will be stated according to proof, pursuant to California Code of Civil Procedure Section 425.10.

                28.       As   a   legal,   direct    and     proximate   result   of the   aforementioned    conduct   of

        DEFENDANTS, and each of them, PLAINTIFF was prevented from attending his usual occupation

        and/or PLAINTIFF is informed and believes, and thereon alleges, that he will be prevented from ey er

        attending to his occupation in the future, and thereby will also sustain a loss of earning capacity and

        loss of opportunity, in addition to lost earnings, past, present, and future according to proof, pursu ant

        to California Code of Civil Procedure Section 425.10.

                29.      As a legal, direct, and proximate result of the conduct of the DEFENDANTS, and ed ch

        of them,      PLAINTIFF     was compelled           to and did employ the services of hospitals, physicia

        surgeons, nurses and the like, to care for and treat their injuries, and did incur hospital, medic

        professional and incidental expenses, and PLAINTIFF is informed and believes, and thereon alleg

        that by reason of his injuries, he will necessarily incur additional like expenses for an indefinite per

        of time in the future, the exact amount of which expenses will be stated according to proof, pursu

        to California Code of Civil Procedure Section 425.10.

                                               SECOND CAUSE OF ACTION

                                             VIOLATION OF TITLE 42 § 1983

              (By PLAINTIFF against DEFENDANTS CITY, COUNTY, STATE and DOES                                  1-100)

               30.       PLAINTIFF re-alleges and incorporates herein by reference each and every allegat on

        and statement contained in the prior paragraphs.

               31.       At all times mentioned herein DEFENDANTS,                   DOES | through    100, and each of

                                            PLAINTIFF’S COMPLAINT FOR DAMAGES
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     them were under a duty not to deprive PLAINTIFF of his rights as afforded to him under the United

     States Constitution and California Constitution, including but not limited to, bodily harm.

              32.         DEFENDANTS         DOES | through 100, and each of them deprived PLAINTIFF of his

     rights there under by engaging in conduct, as set forth in the prior paragraphs, which resulted in

     PLAINTIFF’S injuries and damages.

              33.         While engaged in the aforementioned conduct, DEFENDANTS, DOES | through |

     and each of them were acting under the color of law of a statute, ordinance, regulation, custom,

     practice that regulates or governs DEFENDANTS and their employees.

              34.         As employers and supervisors, DEFENDANTS owed PLAINTIFF a duty to mana

     supervise, review, investigate and monitor their police officers conduct and behavior as so to preve

     their police officers from harming public citizens while acting under the color of law or in the cour

     and scope of their duties for DEFENDANTS.

              35.         DEFENDANTS         breached    their duty of care owed      to PLAINTIFF         by failing

     manage, supervise, review, investigate and monitor their police officers’ field conduct, behavi

     activities,    and    psychological     profiles.   DEFENDANTS        failings   were   in   direct   violation

     PLAINTIFF’S substantive rights under the United States Constitution.

              36.         DEFENDENTS:’ breach resulted in a direct violation of PLAINTIFF’S constitutio nal

     rights to be free from fear of bodily harm, assault, and mental and emotional distress.

              37.         DEFENDANTS?’        failings amounted   to a deliberate indifference to PLAINTIFF

     Constitutional rights because DEFENDANTS               had actual or constructive notice that its failures w ere

     substantially certain to result in a violation of PLAINTIFF’S constitutional rights, but it consciously

     and deliberately chooses to disregard the substantial risk of harm.

              38.         PLAINTIFF is informed and believes, and on such information and belief allege that

     DEFENDANTS:            failure to manage, supervise, review, investigate and monitor their police office rs’

     field conduct, behavior, activities and psychological profiles were not limited to the police office r’s

     violations of PLAINTIFF’S constitutional rights. Rather, PLAINTIFF is informed and believes, 4 nd

     on such information and belief alleges that DEFENDANTS                had a long-standing custom or Be

     of consistently and repeatedly failing to manage, supervise, review, investigate and monitor th eir

                                           PLAINTIFF’*S COMPLAINT FOR DAMAGES
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     police officers field conduct, behavior, activities and psychological profiles with public citizens.

               59;        PLAINTIFF          is informed      and believes, and thereon alleges; DEFENDANTS                    a

     DOES | through 100, inclusive, engaged in said conduct with a conscious disregard of the dangé

     such conduct would and did create for the rights and safety of PLAINTIFF. PLAINTIFF is furth

     informed and believes, and thereon alleges that said police officer who was employed, managé

     supervised, trained, retained, and contracted by DEFENDANTS,                                 acted with malice in that th

     engaged         in despicable conduct and in conscious disregard of the rights, safety, and welfare

     PLAINTIFF. Said conduct of the police officer was oppressive, despicable, highly reprehensible, i

     done in the conscious disregard for the rights and safety of DECE, and as such, warrants imposition

     of punitive damages against DEFENDANTS.

               40.        As    a legal, direct, and         proximate     result of the aforementioned          conduct   of 1

     DEFENDANTS,               and each of them, PLAINTIFF            was injured and hurt in his health, strength and

     activity, sustaining serious injuries to his body, and/or shock and injury to his nervous system a

     person, all of which said injuries have caused and continue to cause PLAINTIFF great physical and/or
     mental pain and suffering. PLAINTIFF is further informed, believes, and thereon alleges that sai

     injuries will result in some permanent disability to him, all to his general damage in an amount wh

     will be stated according to proof, pursuant to California Code of Civil Procedure Section 425.10.

               41.       As     a   legal,   direct,   and     proximate     result    of   the     aforementioned   conduct       of

     DEFENDANTS, and each of them, PLAINTIFF sustained damage to his property in an amount wh

     will be stated according to proof, pursuant to California Code of Civil Procedure Section 425.10.

            42.          As     a   legal,    direct   and     proximate    result    of the        aforementioned   conduct
     DEFENDANTS, and each of them, PLAINTIFF was prevented from attending his usual occupat                                        on

     and/or PLAINTIFF is informed and believes, and thereon alleges, that he will be prevented from ever

     attending to his occupation in the future, and thereby will also sustain a loss of earning capacity ¢ nd

     loss of opportunity, in addition to lost earnings, past, present, and future according to proof, pursuant

     to California Code of Civil Procedure Section 425.10.

            43.          As a legal, direct, and proximate result of the conduct of the DEFENDANTS, and each
     of them, PLAINTIFF              was     compelled       to and did employ        the services of hospitals, physicians.

                                              PLAINTIFF’S COMPLAINT FOR DAMAGES
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       surgeons, nurses and the like, to care for and treat their injuries, and did incur hospital, medic al,

       professional and incidental expenses, and PLAINTIFF is informed and believes, and thereon alleges,
 in)




       that by reason of his injuries, he will necessarily incur additional like expenses for an indefinite peri od
 uo




       of time in the future, the exact amount of which expenses will be stated according to proof, pursuant

       to California Code of Civil Procedure Section 425.10.

                                             PRAYER FOR DAMAGES

               WHEREFORE, PLAINTIFFS, hereby pray for judgment against DEFENDANTS and DOES

        1-100, inclusive; and each of them, as follows:

               1.      For general damages      (also known    as non-economic     damages),    including but not

       limited to, past and future physical, mental, and emotional pain and suffering in an amount in excess

       of the jurisdictional minimum, according to proof;

               2.      For special damages (also known as economic damages), including but not limited           to,

       past and future hospital, medical, professional, and incidental expenses as well as past and future loss

       of earnings, loss of opportunity, and loss of earning capacity, in excess of the jurisdictional minimum,

       according to proof;

               3.      For prejudgment interest, according to proof:

               4.      For cost of suit incurred herein, including attorney’s fees, according to proof;

               5.      For damages for PLAINTIFF’S other losses, according to proof;

               6.      Punitive damages; and

               a.      For such other and further relief as the Court may deem just and proper.


       Dated: March 22, 2024                                   Respectfully submitted,
                                                               ADAMSON AHDOOT LLP


                                                       By:       fA        CA.
                                                               Christopher B. Adamson, Esq.
                                                               Attorneys for Plaintiff
                                                               RANSOME NDI NFOR
       ///

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       /I/

                                       PLAINTIFF’S COMPLAINT FOR DAMAGES
                                                        10
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                                      DEMAND FOR TRIAL BY JURY
 tw




             PLAINTIFF hereby demand as trial by jury as to all causes of action.


      Dated: March 22, 2024                                Respectfully submitted,
                                                           ADAMSON AHDOOT LLP


                                                   By:      a
                                                           Christopher B. Adamson, Esq.
                                                           Attorneys for Plaintiff
                                                           RANSOME NDI NFOR




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                                    PLAINTIFF’S COMPLAINT FOR DAMAGES
                                                     11
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                              EXHIBIT 1
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       Personally Deliver or Mail to the:                                                         RESERVE FOR FILING STAMP
        City Clerk or Secretary for the
                 City of Perris

                 sig                                  CLAIM FOR MONEY OR
             4           “   ”




                                                       DAMAGES AGAINST
                                                       THE CITY OF PERRIS


Note: A claim relating to a cause of action for death or for injury to person or to personal property or growing crops shall be
presented not later than six months after the accrual of the cause of action. A claim relating to any other cause of action shall be
presented not later than one year after the accrual of the cause of action, See Califomia Government Code §911.2.

If additional space is needed to provide your information, please attach separate sheets which identify the paragraph(s
being answered. Sign, date and number all attachments to the claim form.

1.       Name and Post Office address of the Claimant:

           Name of Claimant, RANSOME           NDI NFOR
           Post Office Address:   1150    S ROBERTSON         BLVD
                              LOS ANGELES CA 90035
           Telephone: (340)888-0024
           Email address: E||JAH@AA.LAW / CHRISTOPHER@AA.LAW

2:       Post Office address to which the person presenting the claim desires notices to be sent:

           Name of Addressee: CHRISTOPHER B. ADAMSON,                        ESQ.     Relationship to Claimant: ATTORNEY
           Post Office Address:    1150     S ROBERTSON       BLVD
                                   LOS ANGELES CA 90035
           Telephone: (310)888-0024                                                   Email: ELIAH@AA.LAW/ CHRISTOPHER@AA.LAW

3.       Claimant date of birth, Social Security Number and gender:

           Date of Birth: 09/03/1994
           Social Security Number: N/A
           Gender: M
                 Medicare/Medi-Cal Recipient          YES]     |                        NO   LX]

         Section 111 of the Medicare, Medicaid, and SCHIP Extension Act of 2007 (MMSEA) (P.L. 110-173), adds mandatory
         reporting requirements for liability insurance (including self-insurance) and public entities. See 42 U.S.C.
         1395y(b)(8). The City is requesting this information to comply with the requirements of MMSEA and will n
         disseminate this information, except for reporting purposes as required by the Act referenced above. Yo
         understand that if you are a Medicare beneficiary and you do not provide the requested information, you may b
         violating obligations as a beneficiary to assist the Centers for Medicare & Medicaid Services in coordinatin
         benefits to pay your claims correctly and promptly.

4,      The date, place and other circumstances of the occurrence or transaction which gave rise to the claim asserted.

           Date of Occurrence:    12/08/2023                                          Time of Occurrence: 9:45PM
           Location: REDLANDS       AVE /E SAN JACINTO AVE - PERRIS, CA
           Circumstances giving rise to this claim:   CLAIMANT WAS HEADED HOME AFTER PRACTICING SPORTS WITH FRIENDS.
          HE WAS TRAVELING EASTBOUND ON E SAN JACINTO AVE MAKING A RIGHT TURN ONTO SOUTHBOUND                              REDLANDS


                                                             Page   1 of 3
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      AVE WHEN HE NOTICED A HIGH SPEED PURSUIT SPEEDING UP NORTHBOUND REDLANDS AVE. BEFORE CLAIMANT
      COULD MAKE ATTEMPTS TO AVOID A COLLISION, THE EVADING PARTY COLLIDED INTO CLAIMANT'S VEHICLE.


    General description of the indebtedness, obligation, injury, damage or loss incurred so far as it may be known at the time
    of the presentation of the claim.
      CLAIMANT WAS A VICTIM OF NEGLIGENCE ON BEHALF OF THE CITY OF PERRIS, THE COUNTY
      OF RIVERSIDE, THE STATE OF CALIFORNIA, THE RIVERSIDE COUNTY SHERIFF DEPARTMENT,
      AND DEPUTY LABACO #5797 DUE TO THE PRIMARY CRASH FACTOR BEING A HIGH SPEED
      PURSUIT.
    The name or names of the public employee or employees causing the injury, damage, or loss, if known.
      CITY OF PERRIS, COUNTY OF RIVERSIDE, STATE OF CALIFORNIA, RIVERSIDE COUNTY SHERIFF DEPARTMENT,
      AND DEPUTY LABACO #5797




     If amount claimed totals less than $10,000:       If the amount claimed totals less than ten thousand dollars ($10,000) a
     of the date of presentation of the claim, including the estimated amount of any prospective injury, damage, or loss, insof.
     as it may be known at the time of the presentation of the claim, together with the basis of computation of the amount
     claimed.

       Amount Claimed and basis for computation: TBD




    If amount claimed exceeds $10,000:         {f the amount claimed exceeds ten thousand dollars ($10,000), no dollar amour




                                                                                                                                    a
     shall be included in the claim.   However, it shall indicate whether the claim would be a   limited civil case.   A   limited 04
     case is one where the recovery sought, exclusive of attorney fees, interest and court costs, does not exceed $25,000.
     An unlimited civil case is one in which the recovery sought is more than $25,000. See California Code of Civil Procedu
     §86.

      [__] Limited Civil Case                          CX] Unlimited Civil Case
              Name, address and telephone number of any witness(es) to the occurrence or transaction which gave rise to th




                                                                                                                                        Ww
     claim asserted:
      JUDE NJOFANG
      (240)551-6295
      28333 SOCORRO ST UNIT 49, MURRIETA, CA 92563

     If the claim involves medical treatment for a claimed injury, please provide the name, address and telephone number of
     any doctor(s) or hospital(s) providing treatment:
        AMR AMBULANCE - (951)782-5200 - 879 MARLBOROUGH AVE, RIVERSIDE, CA 92507
      RIVERSIDE UNIVERSITY HEALTH SYSTEM - (951)486-5650 - 26520 CACTUS AVE, MORENO VALLEY, CA 92555
      ANIL DATE MD - (661)803-7849 - 27141 HIDAWAY AVE STE 106, CANYON COUNTRY, CA 91351
      ALL STAR PHYSICAL THERAPY - (951)723-8100 - 30141 ANTELOPE RD STE A, MENIFEE, CA 92584
      TEMECULA ADVANCED IMAGING - (951)244-6700 - 29798 HAUN RD STE 103, MENIFEE, CA 92586
     ff applicable, please attach any medical records or reports, medical bills or similar documents supporting your
     claim.




                                                          Page 2 of 3
Case 5:24-cv-00792-KK-DTB Document 1-2 Filed 04/12/24 Page 15 of 28 Page ID #:20




11,     If the claim relates to an automobile accident:

           Claimant(s) Auto Ins. Co.: PROGRESSIVE                                       Telephone: (800)776-4737
           Address: P.O. BOX 94670
                      CLEVELAND, OH 44101                                               Insurance Policy No.: 952711624

           Insurance Broker/Agent:                                                      Telephone:
           Address:


           Claimant's Veh. Lic. No.: 8FQM714                                            Vehicle Make/Year:      HYUNDAI 2012
           Claimant's Drivers Lic. No.: Y4818885                                        Expiration:    08/02/2024

        if applicable, please attach any repair bills, estimates or similar documents supporting your claim.



                                                         READ CAREFULLY
For all accident claims, place on following diagram name of       City/Agency vehicle at time of accident by “A-1" and location of
streets, including North, East, South, and West; indicate place   yourself or your vehicle at the time of the accident by “B-1" and
of accident by "X” and by showing house numbers or distances      the point of impact by "X.”
to street corners.      If City/Agency Vehicle was involved,
designate by letter “A" location of City/Agency Vehicle when      NOTE: If diagrams below do not fit the situation, attach hereto
you first saw it, and by “B” location of yourself or your vehicle a proper diagram signed and by claimant.
when you first saw Cily/Agency Vehicle; location of




                                                              SIDEWALK



                                                                             Redlands      Ave                           CURB —y
                                                               PARKWAY
                                                              SIDEWALK
                                           - verris dnertf
                                   C7) - \nwelved PaVTY,
                                  CD        -A aman

Warning:    Presentation of a false claim is a felony,    See California Penal Code §72.    In the event a legal action is filed and it is
determined that the the action was not filed in good faith and with reasonable cause, the City/Agency may seek to recover all costs
of defense. See California Code of Civil Procedure §1038.



                                         CHRISTOPHER B. ADAMSON, ESQ.
      a                                  C/O RANSOME NDI NFOR                                         VAL UK
Signature of the Claimant or Person acting on the Claimant's behalf                        Date

                                                               Page 3 of 3
Case 5:24-cv-00792-KK-DTB Document 1-2 Filed 04/12/24 Page 16 of 28 Page ID #:21




                              EXHIBIT 2
Case 5:24-cv-00792-KK-DTB Document 1-2 Filed 04/12/24 Page 17 of 28 Page ID #:22



                                   eePERMA
                                         a:   UBLIC ENTITY RISK MANAGEMENT   AUTHORITY




                                         REJECTION             OF CLAIM




   January 29, 2024

   Ransom Ndi Nfor
   c/o Christopher B. Adamson, Esq.
   1150 S Robertson Blvd
   Los Angeles, CA 90035

   Reference:         Principal:              City of Perris
                      Loss Date:              12/08/2023
                      Claim(s) Made:          1/16/2024
                      Claimant(s):            Ndi Nfor, Ransom
                      Our File Number:        24-176834

   Dear Mr. Ndi Nfor:

   We are the Third-Party Administrator handling the liability claims for the City of Perris.

   Notice is hereby given that the claim, which you presented to the City of Perris on 1/16/2024, was
   rejected 1/29/2024. As part of this rejection notice, Government Code Section 913 requires that the City
   of Perris provide you with the following notice:

                                                     WARNING

         Subject to certain exceptions, you have only six (6) months           from the date this notice was
         personally delivered or deposited in the mail to file an action under California law on this claim.
         See Government Code Section 945.6. You may seek the advice of an attorney of your choice in
         connection with this matter. If you desire to consult an attorney, you should do so immediately.

   Should you have any questions or wish to discuss this matter, please do not hesitate to contact the
   undersigned.


   Sincerely,


    # ?, —_——-
     /@
                 _


   Michael Fredrics
   Liability Administrator
   (909)396-5824
   mfredrics@adminsure.com

   cc:       City of Perris
Case 5:24-cv-00792-KK-DTB Document 1-2 Filed 04/12/24 Page 18 of 28 Page ID #:23



                                  wePERMA
                                       a:        IC   ENTTFY RISK MANAGEMENT    AUTHORITY




                                                PROOF OF SERVICE


   STATE OF CALIFORNIA                      }
   COUNTY OF SAN BERNARDINO                 }

   Il am over the age of 18 years and not a party to the within action.        My business address is 3380 Shelby
   Street.
   On January 29, 2024, I served the documents entitled REJECTION OF CLAIM by placing a true copy
   thereof, enclosed in a sealed envelope, via U.S. Mail, addressed as follows:

   Ransom Ndi Nfor
   c/o Christopher B. Adamson, Esq.
    1150 S Robertson Blvd
   Los Angeles, CA 90035

   [X]       {BY MAIL} As follows: I am “readily familiar” with the business practice of collection and
             processing correspondence for mailing. Under that practice it would be deposited with the U.S.
             Postal Service on that same day with postage thereon fully prepaid at Ontario, California, in the
             ordinary course of business. I am aware that on motion of the party served, service is presumed
             invalid if postal cancellation date or postage meter date is more than one day after date of deposit
             for mailing in affidavit.

   [ ]       {BY PERSONAL       SERVICE} | caused such envelope to be delivered by hand to the offices of
             the addressee.

             {BY FACSIMILE MACHINE} I caused the above-referenced document to be transmitted via
             facsimile machine on January 29, 2024 to the interested parties at the facsimile number noted
             above.

   [X]       {STATE} I certify (or declare) under penalty of perjury under the laws of the State of California
             that the foregoing is true and correct.

   Executed on           January 29, 2024
                                                                        Ce
                                                                    woo
                                                                  Signature

                                                                  Lid J                     Aypuedo
                                                                  Andrew Acevedo
Case 5:24-cv-00792-KK-DTB Document 1-2 Filed 04/12/24 Page 19 of 28 Page ID #:24




                              EXHIBIT 3
  Case 5:24-cv-00792-KK-DTB Document 1-2 Filed 04/12/24 Page 20 of 28 Page ID #:25


 COUNTY OF RIVERSIDE                                                                  CLAIM FOR DAMAGES TO PERSON OR PROPERTY
                                                                                                                                                                   OFFICE USE ONLY
                                           NS           TIONS
                                          1.      Read claim thoroughly.
                                          2.      Fill out claim as indicated; attach additional information if necessary.
                                          3.      This office needs the original completed claim form and clear readable copies
                                                  of attachments (if any) if originals are not available.
                                          4.      This claim form must be signed.
 DELIVER OR U.S. MAIL TO:                  CLERK OF THE BOARD OF                         SUPERVISORS
                                           ATTN: CLAIMS DIVISION
                                               P.O. BOX       1147, 4080 LEMON              ST, 1°" FL.
                                               RIVERSIDE,           CA.    92502-1147        (951) 955-1060                                               TIME STAMP HERE
 7. FULL NAME OF CLAIMANT                                                                             &. WHY 00 YOU CLAIM THE COUNTY IS RESPONSIBLE?
 RANSOME                NDI NFOR
 2. MAILING ADDRESS (STREET / PO BOX)
 1150              S ROBERTSON                  BLVD                                                          NEGLIGENCE DUE TO HIGH SPEED
 ay                                                 STATE                  ZiP CODE
 LOS ANGELES                                   CA                         90035                                    CRIMINAL POLICE PURSUIT
    HOME TELEPHONE                            BUSINESS TELEPHONE                                      9. NAMES OF ANY COUNTY EMPLOYEES (AND THEIR DEPARTMENTS) INVOLVED IN

|_( 310) 888-0024                                    )                                               ay, ERR            AGENT    Or RIVERSIDE, STATE OF CALIFORNIA, RIVERSIDE COUNTY sHenitr
    3. WHEN DID DAMAGE OR INJURY OCCUR (PLEASE BE EXACT)                                              NAME-                                           | DEPARTMENT:
 12/08/2023 @ 9:45PM APPROXIMATELY                                                                   DEPUTY LABACO #5797                               RIVERSIDE COUNTY SHERIFF
 4, WHERE DID DAMAGE OR INJURY OCCUR?                                                                 10. WITNESSESS TO DAMAGE OR INJURY: LIST ALL PERSONS AND ADDRESSES OF
 REDLANDS AVE /E SAN JACINTO AVE                                                                      PERSONS KNOWN TO HAVE INFORMATION

| STREET                  City                              STATE                      ZIP CODE      NAME                                                          PHONE
 PERRIS,            CA 92571                                                                         JUDE NJOFANG                                                 (240)551-6295
|DESCRIBE
  5.  IN DETAIL HOW DAMAGE OR INJURY OCCURRED:                                                        ADORESS
                                                                                                     28333 SOCORRO                  ST APT 49, MURRIETA,                  CA 92563

 CLAIMANT WAS HEADED HOME AFTER PLAYING SPORTS |
 LAUTLICDICAIDNS            LIC   isJAC        THOALVCLIAIC          CACTOOLIAID            OALC
                                                                                                                                                                  =
 VVTTir       Pr   INI      Pk    VPA          OPIN VLLIIN           LAW       PON          VY         ODORESS


 SAN JACINTO AVE MAKING A RIGHT TURN ONTO                                                             ‘
rSOUTHBOUNB-REBLANBS AVE-WHEN HE NGTHEEBA                                                             NAME                                                        PHONE
 HIGH SPEED POLICE PURSUIT SPEEDING UP
NORTHBOUND REDLANDS AVE- BEFORE CLAIVIANT ——TAboRESS
 COULD MAKE ATTEMPTS TO AVOID A COLLISION, THE
TEVADING PARTY COLCIDED INTO CLAIMANT'S        VERTCLE._[1- LIsT DAMAGES INCURRED TO DATE (allach copies of receipts or repair estimates)
 6. WERE POLICE OR PARAMEDICS CALLED?                          YES                    Ono
                                                                                                                                                TBD
|PHYSIGIAN/HOSPITAL
  7. IF                  WAS VISITED DUE TO INJURY, INCLUDE DATE OF FIRST VISIT
  AND HOSPITAL'S NAME, ADDRESS AND PHONE NUMBER:
 DATE OF FIRST VISIT                                        PHYSIGIAN S/HOSPITAL S NAME
 12/08/2023                                             RUHS MEDICAL
 PHYSICIAN S/HOSPITAL'S ADDRESS                         PHONE:                                        vor               ae                                 ”
                                                                                                      TOTAL DAMAGES TO DATE                   TOTAL
                                                                                                                                              PROSPECTIVE
                                                                                                                                                    ESTIMATED DAMAGES
 26520 CACTUS AVE
 MORENO VALLEY CA 92555
                                                        (951)486-4000                                 ;1BD                                    ;_1BD
  THIS CLAIM MUST BE SIGNED TO BE VALID.                                         NOTE: PRESENTATION OF A FALSE CLAIM IS A FELONY (PENAL CODE SECTION 72.)
  WARNING:
          7        CLAIMS FOR DEATH, INJURY TO PERSON OR TO PERSONAL                               PROPERTY      MUST     BE    FILED   NOT   LATER     THAN    SIX (6) MONTHS    AFTER      THE
                   OCCURRENCE, (GOVERNMENT CODE SECTION 911.2)

          >        ALL OTHER CLAIMS FOR DAMAGES MUST BE FILED NOT LATER THAN ONE (1) YEAR AFTER THE OCCURRENCE.                                                (GOVERNMENT CODE SECTION
                   911.2)
          >        SUBJECT TO CERTAIN EXCEPTIONS. YOU HAVE ONLY SIX (6) MONTHS FROM THE DATE OF THE WRITTEN NOTICE OF REJECTION OF YOUR CLAIM
                   TO FILE A COURT ACTION. (GOVERNMENT CODE SECTION 945.6)

          >        IF WRITTEN NOTICE OF REJECTION OF YOUR CLAIM IS NOT GIVEN, YOU HAVE TWO (2) YEARS FROM ACCRUAL OF THE CAUSE OF ACTION TO FIL
                   ACOURT ACTION. (GOVERNMENT CODE SECTION 945.6)

  42, CLAIMANT OR PERSON      FILING ON HIS/HER BEHALF                                                13. PRINT OR TYPE NAME                                          DATE
                                                                                                              CHRISTOPHER               B. ADAMSON,        ESQ.
  x                 a                                               ATTORNEY                          CIO RANSOM NDI NFOR                                               \-.- Fe
  SIGNATURE                                             RELATIONSHIP            TO CLAIMANT                   ELIJAH@AA.LAW              / CHRISTOPHER@AA.LAW




  CO8 06/27/03 BGS                                                                                                                                                           REVISED;   7/20/2010
Case 5:24-cv-00792-KK-DTB Document 1-2 Filed 04/12/24 Page 21 of 28 Page ID #:26




                              EXHIBIT 4
Case 5:24-cv-00792-KK-DTB Document 1-2 Filed 04/12/24 Page 22 of 28 Page ID #:27




                                                  OFFICE OF THE
                                   CLERK OF THE BOARD OF SUPERVISORS                                KIMBERLY A. RECTOR
                                    tst FLOOR, COUNTY ADMINISTRATIVE CENTER                      Clerk of the Board of Supervisor
                                         P.O. BOX 1147, 4080 LEMON   STREET
                                             RIVERSIDE, CA 92502-1147                                    APRIL BOYDD
                                     PHONE: (951) 955-1060   FAX: (951) 955-1071                    Assistant Clerk of the Board


                                              January 30, 2024

RANSOME NDI NFOR
C/O ADAMSON AHDOOT INJURY ATTORNEYS
1150 S. ROBERTSON BLVD.
LOS ANGELES, CA 90035

RE: NOTICE OF REJECTION OF CLAIM
Claimant(s):                NFOR, Ransome Ndi
Date of Loss:               12/08/2023
Claim No:                   033-24
Date Claim Received:        01/23/2024

Notice is hereby given that the claim you presented to the Clerk of the Board of Supervisors was rejected by the
Board on January 30, 2024.

                                                         WARNING

Subject to certain exceptions, you have only six (6) months from the date this notice was personally delivere d or
deposited in the mail to file a court action on this claim. See Government Code section 945.6.

You may seek the advice of any attorney of your choice in connection with this matter.                    If you desire to cor sult
an attorney, you should do so immediately.

This warning, and the six-month deadline, only apply to the extent a lawsuit would be based on California                           aw,

and do not apply to the extent a lawsuit would be based on federal law.




                                                             ofl oi
                                                             Kimberly A. Rector
                                                             Clerk to the Board of Supervisors


                                                                              eph   Sheinin, Clerk of the Board Assistant

I declare that my business address is 1* Floor, County Administrative Center, 4080 Lemon Street, River side
California, that I am a citizen of the United States of America, employed by the County of Riverside and am not
a party to the action. On the date stated below I mailed the foregoing notice by depositing a copy thereof in the
outgoing mail at Riverside, California, in a sealed envelope, with postage prepaid, addressed to the persd n(s)
listed above.     I declare under penalty of perjury that the foregoing is true and correct.

Executed at Riverside, California on January 30, 2024.


                                                                        Joseph Sheinin, Clerk of the Board Assistant
RM:   202341059                                                                 GL090
Case 5:24-cv-00792-KK-DTB Document 1-2 Filed 04/12/24 Page 23 of 28 Page ID #:28




                              EXHIBIT 5
      Case 5:24-cv-00792-KK-DTB Document 1-2 Filed 04/12/24 Page 24 of 28 Page ID #:29
      ee    |




STATE OF CALIFORNIA                                                                                   DEPARTMENT OF GENERAL SERVICES
GOVERNMENT CLAIM                                                                             OFFICE OF RISKAND INSURANCE MANAGE ENT
DGS ORIM 006 (Rev. 08/419)


 CLAIMANT INFORMATION
LAST NAME                                                                FIRST NAME                                                  MIDDLE INITIAL
NFOR                                                                      RANSOME                                                    N.
INMATE OR PATIENT IDENTIFICATION NUMBER (if applicable)                  BUSINESS NAME(if applicable)
N/A                                                                       N/A
TELEPHONE NUMBER                                                         EMAIL ADDRESS
(310)888-0024                                                             ELIJAH@AA.LAW / CHRISTOPHER@AA.LAW
MAILING ADDRESS                                                          CITY                                   STATE                ZIP
1150       S ROBERTSON        BLVD                                        LOS ANGELES                            CA                  90035
IS THE CLAIMANT UNDER 18 YEARS OF AGE?                                   INSURED NAME(Insurance Company Subrogation)
           Yes       fz] No
IS THIS AN AMENDMENT TO A PREVIOUSLY EXISTING CLAIM?                     EXISTING CLAIM NUMBER (ifapplicable)   EXISTING CLAIMANT NAME(! applicatle)
     im Yes       iL) No

 ATTORNEY OR REPRESENTATIVE INFORMATION
LAST NAME                                                                FIRST NAME                                                  MIDDLEINITIAL
ADAMSON                                                                   CHRISTOPHER                                                B.
TELEPHONE NUMBER                                                         EMAIL ADDRESS
(310)888-0024                                                             ELIJAH@AA.LAW / CHRISTOPHER@AA.LAW
MAILING ADDRESS                                                          CITY                                    STATE               ZIP
1150       S ROBERTSON BLVD                                               LOS ANGELES                            CA                  90035
 CLAIM INFORMATION
STATE AGENCIES OR EMPLOYEES AGAINST WHOM THECLAIM IS FILED                                                       DATE OF INCIDENT
STATE OF CALIFORNIA, CITY OF PERRIS, COUNTY OF RIVERSIDE, RIVERSIDE COUNTY SHERIFF, DEPUTY LABACO #5797 | 12/08/2023
LATE CLAIM EXPLANATION (Required, if incident was more than six months ago)



N/A

DOLLAR AMOUNT OF CLAIM                                                   CIVIL CASE TYPE(Required, ifamount is more than $10, 000)
TBD                                                                               [_] Limited ($25,000orless) [® Non-Limited (over$25,000)
DOLLAR AMOUNT EXPLANATION
TBD
INCIDENT LOCATION
REDLANDS AVE / E SAN JACINTO AVE - PERRIS, CA
SPECIFIC DAMAGE OR INJURY DESCRIPTION
TBD



CIRCUMSTANCES THAT LED TO DAMAGE OR INJURY
CLAIMANT WAS HEADED HOME AFTER PLAYING SPORTS WITH FRIENDS. HE WAS TRAVELING EAST ON E SAN JAG >INTO
AVE MAKING A LEFT TURN ONTO NORTHBOUND REDLANDS AVE WHEN HE NOTICED A HIGH SPEED POLICE PURS UIT
SPEEDING DOWN SOUTHBOUND REDLANDS AVE. BEFORE CLAIMANT COULD MAKE ATTEMPTS TO AVOID A COLL SION,
THE EVADING PARTY COLLIDED INTO CLAIMANT'S VEHICLE.

EXPLAIN WHY YOU BELIEVE THE STATE IS RESPONSIBLE FOR THE DAMAGE OR INJURY
CLAIMANT WAS A VICTIM OF NEGLIGENCE ON BEHALF OF THE CITY OF PERRIS, THE COUNTY OF
RIVERSIDE, THE STATE OF CALIFORNIA, AND THE RIVERSIDE COUNTY SHERIFF DEPARTMENT DUE
TO THE PRIMARY CRASH FACTOR BEING A HIGH SPEED PURSUIT.

                                                                                                                                           Page 1 of 2
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STATE OF CALIFORNIA                                                                                     DEPARTMENT OF GENERAL SERVICES
GOVERNMENT CLAIM                                                                               OFFICE OF RISKAND INSURANCE MANAGEMENT
DGS ORIM 006 (Rev. 08/19)



 AUTOMOBILE CLAIM INFORMATION
DOES THE CLAIMINVOLVE A STATE VEHICLE?                                       VEHICLE LICENSE NUMBER(if known}     STATE DRIVER NAME (if known)
         Yes             No                                                  UNKNOWN                             DEPUTY LABACO #5797
HAS A CLAIM BEEN FILED WITH YOUR       INSURANCE CARRIER?                    INSURANCE CARRIER NAME              INSURANCE CLAIM NUMBER
         Yes         [[] No                                                  PROGRESSIVE                         XX-XXXXXXX
HAVE YOU RECEIVEDAN INSURANCE PAYMENT FOR THIS DAMAGE OR INJURY? ~— [AMOUNT RECEIVED (if any)                    AMOUNT OF DEDUCTIBLE(if any)
     [_] Yes         [i No                                                   $0.00                               $500.00
 NOTICE AND SIGNATURE
| declare under penalty of perjury under the laws of the State of California that all the information I have provided is true and correct to
the best of my information and belief. | further understand that if | have provided information that is false, intentionally incomplete, or
misleading | may be charged with a felony punishable by up to four yearsin state prison and/or a fine of up to $10,000 (Penal Code
section 72).
SIGNATURE                                               PRINTED NAME                                             DATE
                 tr                                      CHRISTOPHER B. ADAMSON, ESQ. C/O RANSOM NDI NFOR               \«   \Z-T Ay

 INSTRUCTIONS
       e Include a check or money order for $25, payable to the State of California.
               e $285filing fee is not required for amendments to existing claims.
       e Confirmall sections relating to this claim are complete and the form is signed,
       e Attach copiesof any documentation that supports your claim, Do not submit originals.
Mail the claim form and all attachments to:                                  Claim forms can also be delivered to:
         Office of Risk and Insurance Management                                      Office of Risk and Insurance Management
         Goverment Claims Program                                                     Government Claims Program
         P.O.Box 989052, MS414                                                        707 3rd Street, ist Floor
         West Sacramento,CA 95798-9052                                                West Sacramento,CA 95605
                                                                                      1-800-955-0045
                                     Department of General Services Privacy Notice on Information Collection

This notice is provided pursuant to the Information Practices Act of   1977, California Civil Code Sections1798.17&1798.24and the Federal
Privacy Act (Public Law93-579).

                                    Office of Risk and Insurance Management (ORIM),is requesting the information specified on this
The Departmentof General Services(DGS),
form pursuant to Government Code Section 905.2(c).

The principal purpose for requesting this data is to process claims against the state The information provided will/may be disclosed to a person,¢r
to another agency where the transferis necessary for the transferee-agency ta perform its constitutional or statutory duties,and the use is
compatible with a purpose for which the information was collected and the use or transferis accounted for in accordance with California Civil Cade
Section 1798.25.

Individuals should not provide personal information that is not requested.

The submission of all information requested is mandatory unless otherwise noted. If you fail to provide the information requested toDGSor if ml
information provided is deemed incomplete or unreadable, this may resultin a delay in processing.

Department Privacy Policy
The information collected by DGS Is subject to the limitations in the Information Practices Act of 1977and state palicy (see State Administrativ
Manual 5310-5310.7). For more infarmation on howwe care for your personalinformation, please read the DGS PrivacyPolicy.

Access to Your Information
ORIM is responsible for maintaining collected records and retaining them for5 years, You have aright to access records containing personal
information maintained by the state entity. To request access,contact:

DGSORIM
Public Records Officer
707 3™gst., West Sacramento,CA 95605
(916) 376-5300
                                                                                                                                       Page2 of 2
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                                   Electronically FILED by Superior Court of California, County of Riverside on 03/22/2024 12:55 PM
         Case Nurnb                                      :                                                       l        -ourt By Joseline DeRosier, Clerk                           CM-0/10
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
Christopher B. Adamson, Esq. (State Bar No. 238500)                                                                                                  eminem                ol
Adamson Ahdoot LLP, 1150 S. Robertson Blvd., Los Angeles, CA 90035

TELEPHONE NO.: 310.888.0024                                         FAX NO.: 888.895.4665
EMAIL ADDRESS: christopher@aa.law
ATTORNEY FOR (Name):        Plaintiff - Ransome          Ndi Nfor
SUPERIOR         COURT OF CALIFORNIA,             COUNTY          OF   RIVERSIDE
 STREET ADDRESS: 4050 Main Street
MAILING ADDRESS:
CITY AND ZIP CODE: Riverside, CA 92501
     BRANCH NAME: Riverside Historic Courthouse
CASE NAME:
 Nfor v. City of Perris, et al.

           CIVIL CASE COVER SHEET                                             Complex Case Designation                      GABE NUMEET:
Lx]        Unlimited                  [__] Limited                      [__] Counter                   [__] Joinder           cw             Rel          estos                        so
           (Amount                          (Amount                      :       .
                                                            ;          Filed with first appearance by defendant | jupce:
           demanded                         demanded        is              (Cal. Rules of Court, rule 3.402
           exceeds $35,000)                 $35,000 or less)                      _—             EUR      AEE)                DEPT
                                   Items 1—6 below must be completed (see instructions on page 2).
 1.    Check one box below for the case type that best describes this case:
      Auto Tort                                                        Contract                                          Provisionally Complex Civil Litigation
      [3<]     Auto (22)                                               [__]    Breach of contract/warranty (06)          (Cal. Rules of Court, rules 3.400-3.403)
      |        Uninsured motorist (46)                                 CL]     Rule 3.740 collections (09)              CL]         Antitrust/Trade regulation (03)
      Other PI/PD/WD (Personal Injury/Property                         [__] Other collections (09)                      [___] Construction defect (10)
      Damage/Wrongful Death) Tort                                      [_] Insurance coverage (18)                      [__] Mass tort (40)
      [__] Asbestos (04)                                               [—] Other contract (37)                          [_] Securities litigation (28)
      L__]     Product liability (24)                                  Real Property                                    [__]        Environmental/Toxic tort (30)
      a        Medical malpractice (45)                                co      Enient aoNiainiliwwerse                  LC]         Insurance coverage claims arising from the
      [__]     Other PI/PD/WD (23)                                             condemnation (14)                                    eee               provisionally complex case
      Non-PI/PD/WD (Other) Tort                                        |       Wrongful eviction (33)                    Enforcement of Judgment
      |        Business tort/unfair business practice (07)             |       Other real property (26)                  Cy         Enforcement of judgment (20)

      [__]     Civil rights (08)                                       peal                                              Miscellaneous Civil Complaint
      [__]     Defamation (13)                                         [__]    Commercial (31)                           []         Rico 27)
      [__] Fraud (16)                                                  [__] Residential (32)                             [__] Other complaint (not specified above) (42)
      [__] Intellectual property (19)                                  Lt _Drugs (38)                                    Miscellaneous Civil Petition
      [__] Professional negligence (25)                                Judicial Review
      [J       other non-PUPDIWD tort (35)                             []      Asset forfeiture (05)                     [__]       Partnership and corporate governance (21)

      Employment                                                       [__] Petition re: arbitration award (11)           [__] Other petition (not specified above) (43)
      [___] Wrongful termination (36)                                  [__] Writ of mandate (02)
      [__] Other employment (15)                                       [__] Other judicial review (39)
2.     Thiscase [_]              is     [x      ]isnot       complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
       factors requiring exceptional judicial management:                                                                       ;
      a. [__]       Large number of separately represented parties                          d.    [_]        Large nuET of MITIESEES             ;               a
      b. [_]        Extensive motion practice raising difficult or novel                    e.    [_] Coordination with related actions pending in one or more
                   issues that will be time-consuming to resolve                                          cours in other counties, states, or countries, or in a federal
      c.     [__] Substantial amount of documentary evidence                                f     [[_] Substantial postjudgment judicial supervision
3.     Remedies sought (check all that apply): a. [-X_]                       monetary    b. [___]      nonmonetary; declaratory or injunctive relief c. [x]                           punitive
4.     Number of causes of action (specify): (2)
5.     Thiscase        [_]       is      [x     ]isnot           aclass action suit.
6.   If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: March 22, 2024
Christopher B. Adamson, Esq.                                                                             e             (A_W               CA
                                 (TYPE OR PRINT NAME)                                                                  (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                                         NOTICE
 e   Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
     under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result in sanctions
 ¢ File this cover sheet in addition to any cover sheet required by local court rule.
 « If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all other parties to
   the action or proceeding.
 ¢ Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.               Page 1lof 2
Form Adopted for Mandatory Use                                                                                                        Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 9.740;
Judicial Council of California                                           CIVIL    CASE      COVER            SHEET                            Cal.   Standards of Judicial Administration, std} 3.10
CM-010 [Rev. January 1, 2024]                                                                                                                                                   www.courts.c@.gov
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                                      INSTRUCTIONS   ON HOW TO COMPLETE                  THE COVER SHEET                                    CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item}1 1
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in whic h
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment.       The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated b
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                     CASE TYPES AND EXAMPLES
                                                  Contract                                          Provisionally Complex Civil Litigation (Cal.
 Auto Tort
     Auto (22)—Personal Injury/Property               Breach of Contract/Warranty (06)              Rules of Court Rules 3.400-3.403)
              Damage/Wrongful Death                      Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
                                                              Contract (not unlawful detainer            Construction Defect (10)
          Uninsured Motorist (46) (if the
         case involves an uninsured                                or wrongful eviction)                 Claims Involving Mass Tort (40)
         motorist claim subject to                       Contract/Warranty Breach—Seller                 Securities Litigation (28)
         arbitration, check this item                         Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
                                                         Negligent Breach of Contract/                   Insurance Coverage Claims
         instead of Auto)
 Other PI/PD/WD (Personal Injury/                             Warranty                                         (arising from provisionally complex
  Property Damage/Wrongful Death) Tort                   Other Breach of Contract/Warranty                     case type listed above) (41)
      Asbestos (04)                                  Collections (e.g., money owed, open            Enforcement of Judgment
         Asbestos Property Damage                        book accounts) (09)                           Enforcement of Judgment (20)
         Asbestos Personal Injury/                       Collection Case—Seller Plaintiff                  Abstract of Judgment (Out of County
              Wrongful Death                             Other Promissory Note/Collections Case        Confession of Judgment (non-domestic
      Product Liability (not asbestos or             Insurance Coverage (not provisionally                 relations)
          toxic/environmental) (24)                      complex) (18)                                 Sister State Judgment
      Medical Malpractice (45)                           Auto Subrogation                              Administrative Agency Award
           Medical Malpractice—                          Other Coverage                                    (not unpaid taxes)
                Physicians & Surgeons                Other Contract (37)                               Petition/Certification of Entry of
      Other Professional Health Care                     Contractual Fraud                                 Judgment on Unpaid Taxes
             Malpractice                                 Other Contract Dispute                        Other Enforcement of Judgment Case
       Other PI/PD/WD (23)                        Real Property                                     Miscellaneous Civil Complaint
                                                     Eminent Domain/Inverse
            Premises Liability (e.g., slip                                                             RICO (27)
                 and fall)                               Condemnation (14)                             Other Complaint (not specified above) (42)
            Intentional Bodily Injury/PD/WD          Wrongful Eviction (33)                                 Declaratory Relief Only
                  (e.g., assault, vandalism)         Other Real Property (e.g., quiet title) (26)
                                                                                                            Injunctive Relief Only (non-
            Intentional Infliction of                    Writ of Possession of Real Property
                                                                                                                 harassment)
                 Emotional Distress                      Mortgage Foreclosure                               Mechanics Lien
            Negligent Infliction of                      Quiet Title                                        Other Commercial Complaint
                  Emotional Distress                     Other Real Property (not eminent                        Case (non-tort/non-complex)
            Other PI/PD/WD                               domain, landlord/tenant, or                        Other Civil Complaint
  Non-PI/PD/WD (Other) Tort                               foreclosure)                                           (non-tort/non-complex)
      Business Tort/Unfair Business              Unlawful Detainer                                  Miscellaneous Civil Petition
         Practice (07)                               Commercial (31)                                   Partnership and Corporate
       Civil Rights (e.g., discrimination,           Residential (32)                                      Governance (21)
            false arrest) (not civil                 Drugs (38) (if the case involves illegal          Other Petition (not specified above) (43)
            harassment) (08)                         drugs, check this item; otherwise,                    Civil Harassment
       Defamation (e.g., slander, libel) (13)        report as Commercial or Residential)                  Workplace Violence
       Fraud (16)                                Judicial Review                                           Elder/Dependent Adult Abuse
       Intellectual Property (19)                    Asset Forfeiture (05)                                 Election Contest
       Professional Negligence (25)                  Petition Re: Arbitration Award (11)                   Petition for Name Change
                                                     Writ of Mandate   (02)
           Legal Malpractice                                                                               Petition for Relief From Late Claim
           Other Professional Malpractice                Writ-Administrative Mandamus                      Other Civil Petition
                (not medical or legal)                   Writ-Mandamus on Limited Court
       Other Non-PI/PD/WD Tort (35)                          Case Matter
  Employment                                             Writ-Other Limited Court Case Review
     Wrongful Termination (36)                       Other Judicial Review (39)
      Other Employment (15)                              Review of Health Officer Order
                                                         Notice of Appeal-Labor Commissioner
                                                            Appeals
CM-010 [Rev. January 1, 2024]                                                                                                                Page 2 of 2
                                                            CIVIL CASE COVER SHEET
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     a».         to



                                     Electronically FILED by Superior Court of California, County of Riverside on 03/22/2024 12:55 PM
                      Case Number CVRI2401530 0000087761156 - Jason B. Galkin, Executive Officer/Clerk of the Court By Joseline DeRosier, Clerk
                                                       SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE

    OO BANNING 311 E. Ramsey St., Banning, CA 92220                                             (J      MURRIETA 30755-D Auld Rd., Suite 1226, Murrieta, CA 92563
    BLYTHE 265 N. Broadway, Blythe, CA 92225                                                    1       =PALM SPRINGS 3255 E. Tahquitz Canyon Way, Palm Springs, CA 92262
    (0 CORONA 505 S. Buena Vista, Rm. 201, Corona, CA 92882                                     —X]     RIVERSIDE 4050 Main St., Riverside, CA 92501
    [1 MORENO VALLEY 13800 Heacock St., Ste. D201,
       Moreno Valley, CA 92553
                                                                                                                                                                                RI+C1032
    ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar Number and Address)                                                                            FOR COURT USE ONLY
    Christopher B. Adamson,                 Esq. (State Bar No. 238500)
    Adamson Ahdoot LLP
    1150 S. Robertson Blvd.
    Los Angeles, CA 90035
                      TELEPHONE NO: 310.888.0024                          FAX NO. (Optional):         888 895.4665
       E-MAIL ADDRESS (Optional).   christopher@aa.law

            ATTORNEY FOR (Name): Plaintiff - Ransome Ndi Nfor

                    PLAINTIFF/PETITIONER:        Ransome        Ndi Nfor



            DEFENDANT/RESPONDENT: City of Perris, et al.                                                                              CASE NUMBER:
                                                                                                                                      mw           RiStAaotws                        so
                                                                            CERTIFICATE OF COUNSEL

    The undersigned certifies that this matter should be tried or heard in the court identified above for the reason
    specified below:

                      The action arose in the zip code of:                       92571


       L]             The action concerns real property located in the zip code of:


       L]             The Defendant resides in the zip code of:




For more information on where actions should be filed in the Riverside County Superior Courts, please refer
to Local Rule 3115 at www. riverside.courts.ca.gov.


| certify (or declare) under penalty of perjury under the laws of the State of California that the foregoing is
true and correct.



       Date             March 22, 2024




     Christopher B. Adamson, Esq.                                                                        >                  CA                                                   |
            (TYPE OR PRINT NAME OF G) ATTORNEY    0   PARTY MAKING   DECLARATION)                                                        (SIGNATURE)                             |


                                                                                                                                                                               Page 1 of 1
Riverside
A
          Superior Cour
           'd for Mandatory

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                                                                             CERTIFICATE OF COUNSEL                                                    riverside.
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